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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ALABAMA

IN THE MATTER OF THE SEARCH OF

INFORMATION ASSOCIATED WITH Case No, 19-mj-118
FACEBOOK USER ID

THAT IS STORED AT PREMISES

CONTROLLED BY FACEBOOK INC. _| Pied Under Seal

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Ketrick Kelley, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

Ls I make this affidavit in support of an application for a search warrant for
information associated with a certain Facebook user ID that is stored at premises owned,
maintained, controlled, or operated by Facebook Inc. (“Facebook”), a social networking company
headquartered in Menlo Park, California. The information to be searched is described in the
following paragraphs and in Attachment A. This affidavit is made in support of an application for
a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1 (A) to require
Facebook to disclose to the government records and other information in its possession, pertaining
to the subscriber or customer associated with the user ID.

2 I am a Special Agent with the Federal Bureau of Investigation. Iam a law
enforcement officer of the United States who is empowered by law to conduct investigations of
and to make arrests for offenses against the United States. I have been a sworn law enforcement

officer since 1991. I was a police officer for the city of Mobile Alabama for eight years and have
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been an FBI Special Agent for the past nineteen years. During my twenty seven (27) year tenure
in law enforcement, | have investigated a wide variety of criminal violations and have been the
affiant on countless search and arrest affidavits for offenders of violations, as set forth in Title 18.
United States Code and Title 21, United States Code. Through my training, education and
experience, I have become familiar with the manner in which offenders communicate using e-mail,

social media, and the internet to contact victims and co-conspirators of crimes | am sworn to

investigate.
3; The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is intended to

show merely that there is sufficient probable cause for the requested warrant and does not set forth
all of my knowledge about this matter.

4, Based on my training and experience and the facts as set forth in this affidavit, there
is probable cause to believe that TS | :ci:.%er i violated Title
18, United States Code, Section 875(c), in that, she transmitted in interstate commerce a
threatening communication to do bodily harm to another, and Title 18, United States Code 2261A
(2)(B), in that, she with intent to intimidate or harass, used the internet to cause, or attempted to
cause, substantial emotional distress to a person. There is also probable cause to search the

information described in Attachment A for evidence of these crimes and contraband or fruits of

these crimes, as described in Attachment B.

 
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u. Facebook owns and operates a free-access social networking website of the same

name that can be accessed at http://www.facebook.com. Facebook allows its users to establish
accounts with Facebook, and users can then use their accounts to share written news, photographs,
videos, and other information with other Facebook users, and sometimes with the general public.
12. Facebook asks users to provide basic contact and personal identifying information
to Facebook, either during the registration process or thereafter. This information may include the

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user’s full name, birth date, gender, contact e-mail addresses, Facebook passwords, Facebook
security questions and answers (for password retrieval), physical address (including city, state, and
zip code), telephone numbers, screen names, websites, and other personal identifiers. Facebook
also assigns a user identification number to each account.

13. Facebook users may join one or more groups or networks to connect and interact
with other users who are members of the same group or network. Facebook assigns a group
identification number to each group. A Facebook user can also connect directly with individual
Facebook users by sending each user a “Friend Request.” If the recipient of a “Friend Request”
accepts the request, then the two users will become “Friends” for purposes of Facebook and can
exchange communications or view information about each other. Each Facebook user’s account
includes a list of that user’s “Friends” and a “News Feed,” which highlights information about the
user’s “Friends,” such as profile changes, upcoming events, and birthdays.

14. Facebook users can select different levels of privacy for the communications and
information associated with their Facebook accounts. By adjusting these privacy settings, a
Facebook user can make information available only to himself or herself, to particular Facebook
users, or to anyone with access to the Internet, including people who are not Facebook users. A
Facebook user can also create “lists” of Facebook friends to facilitate the application of these
privacy settings. Facebook accounts also include other account settings that users can adjust to
control, for example, the types of notifications they receive from Facebook.

15. | Facebook users can create profiles that include photographs, lists of personal
interests, and other information. Facebook users can also post “status” updates about their
whereabouts and actions, as well as links to videos, photographs, articles, and other items available

elsewhere on the Internet. Facebook users can also post information about upcoming “events,”

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such as social occasions, by listing the event’s time, location, host, and guest list. In addition,
Facebook users can “check in” to particular locations or add their geographic locations to their
Facebook posts, thereby revealing their geographic locations at particular dates and times. A
particular user’s profile page also includes a “Wall,” which is a space where the user and his or her
“Friends” can post messages, attachments, and links that will typically be visible to anyone who
can view the user’s profile.

16. Facebook allows users to upload photos and videos, which may include any
metadata such as location that the user transmitted when s/he uploaded the photo or video. It also
provides users the ability to “tag” (i-e., label) other Facebook users in a photo or video. When a
user is tagged in a photo or video, he or she receives a notification of the tag and a link to see the
photo or video. For Facebook’s purposes, the photos and videos associated with a user’s account
will include all photos and videos uploaded by that user that have not been deleted, as well as all
photos and videos uploaded by any user that have that user tagged in them.

17. Facebook users can exchange private messages on Facebook with other users.
These messages, which are similar to e-mail messages, are sent to the recipient’s “Inbox” on
Facebook, which also stores copies of messages sent by the recipient, as well as other information.
Facebook users can also post comments on the Facebook profiles of other users or on their own
profiles; such comments are typically associated with a specific posting or item on the profile. In
addition, Facebook has a Chat feature that allows users to send and receive instant messages
through Facebook. These chat communications are stored in the chat history for the account.
Facebook also has a Video Calling feature, and although Facebook does not record the calls

themselves, it does keep records of the date of each call.
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18. If a Facebook user does not want to interact with another user on Facebook, the first
user can “block” the second user from seeing his or her account.

19. Facebook has a “like” feature that allows users to give positive feedback or connect
to particular pages. Facebook users can “like” Facebook posts or updates, as well as webpages or
content on third-party (i.e., non-Facebook) websites. Facebook users can also become “fans” of
particular Facebook pages.

20. Facebook has a search function that enables its users to search Facebook for
keywords, usernames, or pages, among other things.

21. Each Facebook account has an activity log, which is a list of the user’s posts and
other Facebook activities from the inception of the account to the present. The activity log
includes stories and photos that the user has been tagged in, as well as connections made through
the account, such as “liking” a Facebook page or adding someone as a friend. The activity log is
visible to the user but cannot be viewed by people who visit the user’s Facebook page.

22. Facebook Notes is a blogging feature available to Facebook users, and it enables
users to write and post notes or personal web logs (“blogs”), or to import their blogs from other
services, such as Xanga, LiveJournal, and Blogger.

23. | The Facebook Gifts feature allows users to send virtual “gifts” to their friends that
appear as icons on the recipient’s profile page. Gifts cost money to purchase, and a personalized
message can be attached to each gift. Facebook users can also send each other “pokes,” which are
free and simply result in a notification to the recipient that he or she has been “poked” by the
sender.

24. Facebook also has a Marketplace feature, which allows users to post free classified

ads. Users can post items for sale, housing, jobs, and other items on the Marketplace.

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25. In addition to the applications described above, Facebook also provides its users
with access to thousands of other applications (“apps”) on the Facebook platform. When a
Facebook user accesses or uses one of these applications, an update about that the user’s access or
use of that application may appear on the user’s profile page.

26. Facebook uses the term “Neoprint” to describe an expanded view of a given user
profile. The “Neoprint” for a given user can include the following information from the user’s
profile: profile contact information: News Feed information; status updates; links to videos,
photographs, articles, and other items; Notes; Wall postings; friend lists, including the friends’
Facebook user identification numbers; groups and networks of which the user is a member,
including the groups’ Facebook group identification numbers; future and past event postings;
rejected “Friend” requests; comments; gifts; pokes; tags: and information about the user’s access
and use of Facebook applications.

27. Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP
address. These logs may contain information about the actions taken by the user ID or IP address
on Facebook, including information about the type of action, the date and time of the action, and
the user ID and IP address associated with the action. For example, if a user views a Facebook
profile, that user’s IP log would reflect the fact that the user viewed the profile, and would show
when and from what IP address the user did so.

28. Social networking providers like Facebook typically retain additional information
about their users’ accounts, such as information about the length of service (including start date),
the types of service utilized, and the means and source of any payments associated with the service
(including any credit card or bank account number). In some cases, Facebook users may

communicate directly with Facebook about issues relating to their accounts, such as technical

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problems, billing inquiries, or complaints from other users. Social networking providers like
Facebook typically retain records about such communications, including records of contacts
between the user and the provider’s support services, as well as records of any actions taken by the
provider or user as a result of the communications.

29. As explained herein, information stored in connection with a Facebook account
may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal
conduct under investigation, thus enabling the United States to establish and prove each element or
alternatively, to exclude the innocent from further suspicion. In my training and experience, a
Facebook user’s “Neoprint,” IP log, stored electronic communications, and other data retained by
Facebook, can indicate who has used or controlled the Facebook account. This “user attribution”
evidence is analogous to the search for “indicia of occupancy” while executing a search warrant at
a residence. For example, profile contact information, private messaging logs, status updates, and
tagged photos (and the data associated with the foregoing, such as date and time) may be evidence
of who used or controlled the Facebook account at a relevant time. Further, Facebook account
activity can show how and when the account was accessed or used. For example, as described
herein, Facebook logs the Internet Protocol (IP) addresses from which users access their accounts
along with the time and date. By determining the physical location associated with the logged IP
addresses, investigators can understand the chronological and geographic context of the account
access and use relating to the crime under investigation. Such information allows investigators to
understand the geographic and chronological context of Facebook access, use, and events relating
to the crime under investigation. Additionally, Facebook builds geo-location into some of its
services. Geo-location allows, for example, users to “tag” their location in posts and Facebook

“friends” to locate each other. This geographic and timeline information may tend to either

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inculpate or exculpate the Facebook account owner. Last, Facebook account activity may provide
relevant insight into the Facebook account owner’s state of mind as it relates to the offense under
investigation. For example, information on the Facebook account may indicate the owner’s motive
and intent to commit a crime (e.g., information indicating a plan to commit a crime), or
consciousness of guilt (e.g., deleting account information in an effort to conceal evidence from law
enforcement).

30. Therefore, the computers of Facebook are likely to contain all the material
described above, including stored electronic communications and information concerning
subscribers and their use of Facebook, such as account access information, transaction information,
and other account information.

INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

31. I anticipate executing this warrant under the Electronic Communications Privacy
Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant to
require Facebook to disclose to the government copies of the records and other information
(including the content of communications) particularly described in Section I of Attachment B.
Upon receipt of the information described in Section I of Attachment B, government-authorized
persons will review that information to locate the items described in Section II of Attachment B.

CONCLUSION

32. Based on the forgoing, I request that the Court issue the proposed search warrant.

$3. This Court has jurisdiction to issue the requested warrant because it is “a court of
competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) &
(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that — has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).
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34. Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not
required for the service or execution of this warrant.
REQUEST FOR SEALING
35. I further request that the Court order that all papers in support of this application,
including the affidavit and search warrant, be sealed until further order of the Court. These
documents discuss an ongoing criminal investigation that is neither public nor known to the target
of the investigation. Accordingly, there is good cause to seal these documents because their

premature disclosure may seriously jeopardize that investigation.

Respectfully submitted,

Mit Lil, Z

Ketrick Kelley
Special Agent
Federal Bureau of Investigation

THE ABOVE AGENT HAS ATTESTED
TO THIS AFFIDAVIT PURSUANT TO
FED. R. CRIM. P. 4.1(b)(2)(B) THIS 28th
DAY OF JUNE 2019

Digitally signed by P Bradlay Murray US
P. Bradley Murray sss 4<ae

DN:cn P Bradley Murray US Magistrate
—__US. Magistrate ‘Tustin
HONudRADLE Y fe MURRAY

UNITED STATES MAGISTRATE JUDGE

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ATTACHMENT A

Property to Be Searched

 
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ATTACHMENT B
Particular Things to be Seized
I. Information to be disclosed by Facebook
To the extent that the information described in Attachment A is within the possession, custody,
or control of Facebook Inc. (“Facebook”), including any messages, records, files, logs, or
information that have been deleted but are still available to Facebook, or have been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to disclose the

following information to the government for each user ID listed in Attachment A:

 
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II, Information to be seized by the government
All information described above in Section I that constitutes fruits, evidence and
instrumentalities of violations of 18 U.S.C. 2251(a) and 2252A(a) between the dates of

November 28, 2018 through the present, including, for user ID identified on Attachment A,

information pertaining to the following matters:

 

we
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CERTIFICATE OF AUTHENTICITY OF DOMESTIC
RECORDS PURSUANT TO FEDERAL RULES OF
EVIDENCE 902(11) AND 902(13)

I, , attest, under penalties of perjury by the laws
of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in
this certification is true and correct. | am employed by Facebook, Inc., and my title is

I am qualified to authenticate the records attached hereto

 

because | am familiar with how the records were created, managed, stored, and retrieved. I state
that the records attached hereto are true duplicates of the original records in the custody of

Facebook, Inc. The attached records consist of J

 

further state that:

a. all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth by, or from information transmitted by, a person with
knowledge of those matters, they were kept in the ordinary course of the regularly conducted
business activity of Facebook, Inc., and they were made by Facebook, Inc. as a regular practice;

and

b. such records were generated by Facebook, Inc.’s electronic process or system that

produces an accurate result, to wit:

1. the records were copied from electronic device(s), storage medium(s), or
file(s) in the custody of Facebook, Inc. in a manner to ensure that they are true duplicates of the

original records; and
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2. the process or system is regularly verified by Facebook, Inc., and at all
times pertinent to the records certified here the process and system functioned properly and

normally.

I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of

the Federal Rules of Evidence.

 

Date Signature
